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AO 91 (Rev. 11/11) Criminal Complaint
                                                                                                                        2     eU74
                                     UNITED STATES DISTRICT COURT
                                                                 for the
                                                                                                        W.D!SrT
                                                       Western District of Texas

                 United States of America
                                V.
                                                                           Case No.
                                                                                                           /724         i7
                       David RAMIREZ




                          Defendant(s)


                                                 CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

On or about the date(s) of                    April 22, 2014               in the county of            El Paso               in the

      Western          District of             Texas             the defendant(s) violated:

             Code Section                                                     Offense Description
Title 21 u.s.c § 841 (a)(l) and 952             Defendant did, knowingly and intentionally possess with the intent to
(a)                                             distribute approximately 15.60 kilograms (gross weight) of marijuana, a
                                                Schedule 1 controlled substance: and unlawfully imported into the customs
                                                territory of the united States from any place outside thereof (i.e. Mexico),
                                                approximately 15.60 kilograms (gross weight) of marijuana, a Schedule 1
                                                controlled substance.



          This criminal complaint is based on these facts:
See attached affivavit.




           1' Continued on the attached sheet.




                                                                                              om        t'ssignature

                                                                                          eremy Bluto - Special Agent
                                                                                             Printed name and title

Sworn to before me and signed in my presence.


Date:             04/23/2014
                                                                                               Judge 'S signature

City and state:                          El PaSO, Texas                            Miguel A. Torres u.s. Magistrate_Judge
                                                                                              Printed name and title
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On April 22, 2014, David RAMIREZ attempted to enter the United States at the Paso Del Norte,
Port of Entry, El Paso, Texas. RAMIREZ was the driver and sole occupant of a 1999 Dodge
Durango bearing Chihuahua Mexico registration.

United States Customs and Border Protection Officers (CBPOs) and United States Border Patrol
Agents (USBPAs) were conducting pre-primary roving operations. A Narcotic Human Detector
Dog (NHDD) alerted to the undercarriage of the Dodge Durango driven by RAMIREZ.

A USBPA took a customs declaration from RAMIREZ. RAMIREZ gave the following non-
verbatim declaration: He was on his way to work with his uncle doing construction in the North
East. The vehicle belonged to his girlfriend; however, he had no registration paperwork. His
girlfriend had owned the vehicle for about one year and he had been using it for about one
month. He was the only person who drove the vehicle and he was responsible for the vehicle
and everything in it.

A CBPO took a second customs declaration from RAMIREZ. RAMIREZ gave the following
non-verbatim customs declaration: He stated he lived in Juarez with his girlfriend and was
coming from their house. He stated the vehicle belonged to his girlfriend but he had been using
it for about two weeks. He was the only person who drives the car right now and he was
responsible for the vehicle and everything in it.

During further inspection, 29 bundles containing a green, leafy substance were recovered. One
bundle was probed to remove a sample. The sample field-tested positive for the properties of
marijuana. The total approximate weight was 15.60 kilograms.

Homeland Security Investigations (HSI) Special Agents (SAs) arrived and began an
investigation. RAMIREZ read his Miranda rights out loud in the Spanish language as witnessed
by SAs Jeremy Bluto and Marco Reta. RAMIREZ signed the rights form indicating he
understood his rights and agreed to speak to SAs without an attorney present. RAMIREZ gave
the following non verbatim statement:

RAMIREZ stated he was going to be paid $800 for smuggling the marijuana. He stated his
girlfriend arranged the smuggling venture and that several of her friends were involved in the
drug trade. RAMIREZ stated he was told someone would be waiting once he crossed the Port of
Entry. The person would flag him down as they would recognize the vehicle he was driving.
RAMIREZ said after being flagged down, the unknown person would get in the vehicle with
him, take him to work and drop him off, take the vehicle to be unloaded, and return to pick up
him after work. RAMIREZ stated this was his first time smuggling. RAMIREZ declined to
make a written statement.

This affidavit is prepared for the sole purpose of establishing probable cause and does not
contain all of the facts known to me about this case.
